                                                            Case 14-13814-RAM              FORM
                                                                                         Doc 92 1 Filed 10/09/19 Page                               1 of 17                    Page No:     1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

Case No.:                       14-13814                                                                                                            Trustee Name:                           Joel L. Tabas
Case Name:                      GOMEZ, ALFREDO                                                                                                      Date Filed (f) or Converted (c):        02/19/2014 (f)
For the Period Ending:          09/30/2019                                                                                                          §341(a) Meeting Date:                   04/02/2014
                                                                                                                                                    Claims Bar Date:                        10/23/2014
                                    1                                              2                             3                           4                         5                                        6

                        Asset Description                                     Petition/                 Estimated Net Value               Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                (Value Determined by               Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                          Trustee,              OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

Ref. #
1        10121 Martinique Dr., Miami, FL 33189                                   $97,000.00                                 $0.00                                            $0.00                                          FA
2        Cash on hand                                                                  $20.00                               $0.00                                            $0.00                                          FA
3        TD Bank 1202                                                                  $50.00                               $0.00                                            $0.00                                          FA
4        Bank of America 1537                                                          $50.00                               $0.00                                            $0.00                                          FA
5        Household goods & furnishings                                              $200.00                                 $0.00                                            $0.00                                          FA
6        Clothing                                                                      $75.00                               $0.00                                            $0.00                                          FA
7        2002 Chevrolet Silverado                                                 $1,000.00                                 $0.00            OA                             $35.00                                          FA
Asset Notes:        Trustee's Notice of Abandonment, 05/18/15 (ECF 83)
8        Avoidance Actions                                       (u)                    $0.00                         $25,000.00                                       $19,714.90                                   $11,248.78
Asset Notes:        Order Granting Motion to Approve Stipulation for Compromise and Settlement Regarding Potential Avoidance Actions Against (1) Maura Padron (B) Claudio Leyva and (C) Yamaura
                    Rodriguez, 2/25/15 (ECF 75)


TOTALS (Excluding unknown value)                                                                                                                                                                Gross Value of Remaining Assets
                                                                               $98,395.00                              $25,000.00                                      $19,749.90                                   $11,248.78



Major Activities affecting case closing:
 The Trustee is monitoring payments from Debtor in connection to a potential avoidance actions.


Initial Projected Date Of Final Report (TFR):          06/30/2016                            Current Projected Date Of Final Report (TFR):        11/30/2022               /s/ JOEL L. TABAS
                                                                                                                                                                           JOEL L. TABAS
                                                     Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 2 of 17
                                                                                  FORM 2                                                                       Page No: 1
                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                     14-13814                                                                                         Trustee Name:                       Joel L. Tabas
Case Name:                   GOMEZ, ALFREDO                                                                                   Bank Name:                          Union Bank
Primary Taxpayer ID #:       **-***0619                                                                                       Checking Acct #:                    ******9637
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                      Checking Account (Non-Interest Earn
For Period Beginning:        10/01/2018                                                                                       Blanket bond (per case limit):      $56,290,000.00
For Period Ending:           09/30/2019                                                                                       Separate bond (if applicable):


     1                2                   3                                                       4                                                 5                   6                    7

Transaction      Check /                Paid to/                          Description of Transaction                           Uniform           Deposit          Disbursement            Balance
   Date           Ref. #             Received From                                                                            Tran Code            $                   $


02/18/2015           (7)   GOMEZ, ALFREDO                      UCC Filing Fee                                                  1129-000              $35.00                 $0.00                   $35.00
02/24/2015                 GOMEZ, ALFREDO                      Order Granting Trustee's Motion to Approve                          *               $351.86                  $0.00                  $386.86
                                                               Stipulation for Compromise and Settlement, 2/25/15
                                                               (ECF 75)
                     {8}                                       Asset 8                                              $284.09    1241-000                                                           $386.86
                     {8}                                       Interest                                              $67.77    1241-000                                                           $386.86
03/17/2015                 GOMEZ, ALFREDO                      Order Granting Trustee's Motion to Approve                          *               $351.86                  $0.00                  $738.72
                                                               Stipulation for Compromise and Settlement, 2/25/15
                                                               (ECF 75)
                     {8}                                       Interest                                              $67.77    1241-000                                                           $738.72
                     {8}                                                                                            $284.09    1241-000                                                           $738.72
04/16/2015                 GOMEZ, ALFREDO                      Order Granting Trustee's Motion to Approve                          *               $351.86                  $0.00                $1,090.58
                                                               Stipulation for Compromise and Settlement, 2/25/15
                                                               (ECF 75)
                     {8}                                                                                            $284.09    1241-000                                                          $1,090.58
                     {8}                                       Interest                                              $67.77    1241-000                                                          $1,090.58
05/11/2015                 GOMEZ, ALFREDO                      Order Granting Trustee's Motion to Approve                          *               $351.86                  $0.00                $1,442.44
                                                               Stipulation for Compromise and Settlement, 2/25/15
                                                               (ECF 75)
                     {8}                                                                                            $284.09    1241-000                                                          $1,442.44
                     {8}                                       Interest                                              $67.77    1241-000                                                          $1,442.44
06/05/2015                 GOMEZ, ALFREDO                      Order Granting Trustee's Motion to Approve                          *               $351.86                  $0.00                $1,794.30
                                                               Stipulation for Compromise and Settlement, 2/25/15
                                                               (ECF 75)
                     {8}                                       Interest                                              $67.77    1241-000                                                          $1,794.30
                     {8}                                                                                            $284.09    1241-000                                                          $1,794.30

                                                                                                                              SUBTOTALS            $1,794.30                 $0.00
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 3 of 17
                                                                                     FORM 2                                                                        Page No: 2
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


06/25/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $1,779.30
07/13/2015                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $2,131.16
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Interest                                              $67.77    1241-000                                                           $2,131.16
                     {8}                                                                                               $284.09    1241-000                                                           $2,131.16
07/27/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $2,116.16
08/17/2015                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $2,468.02
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $2,468.02
                     {8}                                          Interest                                              $67.77    1241-000                                                           $2,468.02
08/25/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $2,453.02
09/21/2015                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $2,804.88
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $2,804.88
                     {8}                                          Interest                                              $67.77    1241-000                                                           $2,804.88
09/25/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $2,789.88
10/13/2015                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $3,141.74
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $3,141.74
                     {8}                                          Interest                                              $67.77    1241-000                                                           $3,141.74
10/26/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $3,126.74



                                                                                                                                 SUBTOTALS            $1,407.44                 $75.00
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 4 of 17
                                                                                     FORM 2                                                                        Page No: 3
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


11/09/2015                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $3,478.60
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $3,478.60
                     {8}                                          Interest                                              $67.77    1241-000                                                           $3,478.60
11/25/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $3,463.60
12/14/2015                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $3,815.46
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $3,815.46
                     {8}                                          Interest                                              $67.77    1241-000                                                           $3,815.46
12/28/2015                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $3,800.46
01/06/2016        10001    INTERNATIONAL SURETIES, LTD            2016 Chapter 7 Trustee Bond Number                              2300-000                 $0.00                 $1.69               $3,798.77
                                                                  016027932 ($0.40 per $1,000, on deposit as of
                                                                  November 30, 2015), pursuant to Local Rule 2016-1(A)
                                                                  (k)
01/19/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $4,150.63
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $4,150.63
                     {8}                                          Interest                                              $67.77    1241-000                                                           $4,150.63
01/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $4,135.63
02/17/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $4,487.49
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $4,487.49
                     {8}                                          Interest                                              $67.77    1241-000                                                           $4,487.49
                                                                                                                                 SUBTOTALS            $1,407.44                 $46.69
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 5 of 17
                                                                                     FORM 2                                                                        Page No: 4
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


02/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $4,472.49
03/14/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $4,824.35
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $4,824.35
                     {8}                                          Interest                                              $67.77    1241-000                                                           $4,824.35
03/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $4,809.35
04/18/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $351.86                    $0.00               $5,161.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.09    1241-000                                                           $5,161.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $5,161.21
04/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $5,146.21
05/19/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $5,498.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $5,498.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $5,498.21
05/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $5,483.21
06/13/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $5,835.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $5,835.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $5,835.21
06/27/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $5,820.21



                                                                                                                                 SUBTOTALS            $1,407.72                 $75.00
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 6 of 17
                                                                                     FORM 2                                                                        Page No: 5
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


07/18/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $6,172.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $6,172.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $6,172.21
07/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $6,157.21
08/15/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $6,509.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $6,509.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $6,509.21
08/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $6,494.21
09/12/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $6,846.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $6,846.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $6,846.21
09/26/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $6,831.21
10/10/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $7,183.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $7,183.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $7,183.21
10/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $7,168.21




                                                                                                                                 SUBTOTALS            $1,408.00                 $60.00
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 7 of 17
                                                                                     FORM 2                                                                        Page No: 6
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


10/26/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $7,520.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $7,520.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $7,520.21
11/25/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $7,505.21
12/16/2016                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $7,857.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $7,857.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $7,857.21
12/27/2016                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $7,842.21
01/12/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $8,194.21
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $8,194.21
                     {8}                                          Interest                                              $67.77    1241-000                                                           $8,194.21
01/24/2017        10002    INTERNATIONAL SURETIES, LTD            2017 Chapter 7 Trustee Bond Number                              2300-000                 $0.00                 $2.25               $8,191.96
                                                                  016027932 ($0.30 per $1,000. on deposit as of
                                                                  November 30, 2016), pursuant to Local Rule 2016-1(A)
                                                                  (k)
01/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $8,176.96
02/14/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $8,528.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $8,528.96
                     {8}                                          Interest                                              $67.77    1241-000                                                           $8,528.96
                                                                                                                                 SUBTOTALS            $1,408.00                 $47.25
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 8 of 17
                                                                                     FORM 2                                                                        Page No: 7
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


02/27/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $8,513.96
03/08/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $8,865.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $8,865.96
                     {8}                                          Interest                                              $67.77    1241-000                                                           $8,865.96
03/27/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $8,850.96
04/11/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $9,202.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $9,202.96
                     {8}                                          Interest                                              $67.77    1241-000                                                           $9,202.96
04/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $9,187.96
05/17/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $9,539.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $9,539.96
                     {8}                                          Interest                                              $67.77    1241-000                                                           $9,539.96
05/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $9,524.96
06/07/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00               $9,876.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                           $9,876.96
                     {8}                                          Interest                                              $67.77    1241-000                                                           $9,876.96
06/26/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00               $9,861.96



                                                                                                                                 SUBTOTALS            $1,408.00                 $75.00
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                   Page 9 of 17
                                                                                     FORM 2                                                                        Page No: 8
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


07/14/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $10,213.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $10,213.96
                     {8}                                          Interest                                              $67.77    1241-000                                                       $10,213.96
07/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00            $10,198.96
08/13/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $10,550.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $10,550.96
                     {8}                                          Interest                                              $67.77    1241-000                                                       $10,550.96
08/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.00            $10,535.96
09/22/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $10,887.96
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $10,887.96
                     {8}                                          Interest                                              $67.77    1241-000                                                       $10,887.96
09/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.34            $10,872.62
10/06/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $359.00                    $0.00            $11,231.62
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $291.23    1241-000                                                       $11,231.62
                     {8}                                          Interest                                              $67.77    1241-000                                                       $11,231.62
10/25/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $15.15            $11,216.47




                                                                                                                                 SUBTOTALS            $1,415.00                 $60.49
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                  Page 10 of 17
                                                                                      FORM 2                                                                       Page No: 9
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


11/09/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $11,568.47
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $11,568.47
                     {8}                                          Interest                                              $67.77    1241-000                                                       $11,568.47
11/27/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $16.52            $11,551.95
12/21/2017                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $11,903.95
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $11,903.95
                     {8}                                          Interest Asset 8                                      $67.77    1241-000                                                       $11,903.95
12/26/2017                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $16.48            $11,887.47
01/19/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $12,239.47
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $12,239.47
                     {8}                                          Interest                                              $67.77    1241-000                                                       $12,239.47
01/23/2018        10003    INTERNATIONAL SURETIES, LTD            2018 Chapter 7 Trustee Bond Number                              2300-000                 $0.00                 $3.47            $12,236.00
                                                                  016027932 ($0.30 per $1,000. on deposit as of
                                                                  November 30, 2016), pursuant to Local Rule 2016-1(A)
                                                                  (k)
01/25/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                $17.33            $12,218.67
02/13/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                    $0.00            $12,570.67
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $12,570.67
                     {8}                                          Interest                                              $67.77    1241-000                                                       $12,570.67
                                                                                                                                 SUBTOTALS            $1,408.00                 $53.80
                                                        Case 14-13814-RAM           Doc 92 Filed 10/09/19                   Page 11 of 17
                                                                                     FORM 2                                                                        Page No: 10
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


02/26/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $17.83           $12,552.84
03/16/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $12,904.84
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $12,904.84
                     {8}                                          Interest                                              $67.77    1241-000                                                       $12,904.84
03/26/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $16.65           $12,888.19
04/11/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $13,240.19
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $13,240.19
                     {8}                                          Interest                                              $67.77    1241-000                                                       $13,240.19
04/25/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $18.87           $13,221.32
05/10/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $13,573.32
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $13,573.32
                     {8}                                          Interest                                              $67.77    1241-000                                                       $13,573.32
05/25/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $18.85           $13,554.47
06/08/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $13,906.47
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $13,906.47
                     {8}                                          Interest                                              $67.77    1241-000                                                       $13,906.47
06/25/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $20.00           $13,886.47



                                                                                                                                 SUBTOTALS            $1,408.00                  $92.20
                                                        Case 14-13814-RAM           Doc 92 Filed 10/09/19                   Page 12 of 17
                                                                                     FORM 2                                                                        Page No: 11
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                        Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                           Union Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):       $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                       4                                                 5                    6                    7

Transaction      Check /                   Paid to/                          Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                    $


07/12/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $14,238.47
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $14,238.47
                     {8}                                          Interest                                              $67.77    1241-000                                                       $14,238.47
07/25/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $19.83           $14,218.64
08/14/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $14,570.64
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                                                                               $284.23    1241-000                                                       $14,570.64
                     {8}                                          Interest                                              $67.77    1241-000                                                       $14,570.64
08/27/2018                 Union Bank                             BANK SERVICE FEE                                                2600-000                 $0.00                 $20.95           $14,549.69
09/14/2018                 GOMEZ, ALFREDO                         Order Granting Trustee's Motion to Approve                          *               $352.00                     $0.00           $14,901.69
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $14,901.69
                     {8}                                          Interest                                              $67.77    1241-000                                                       $14,901.69
09/25/2018                 Union Bank                             Bank Service Fee                                                2600-000                 $0.00                 $21.41           $14,880.28
09/25/2018                 Green Bank                             Transfer Funds                                                  9999-000                 $0.00           $14,880.28                   $0.00




                                                                                                                                 SUBTOTALS            $1,056.00            $14,942.47
                                                          Case 14-13814-RAM      Doc 92 Filed 10/09/19                 Page 13 of 17
                                                                                  FORM 2                                                                        Page No: 12
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        14-13814                                                                                      Trustee Name:                        Joel L. Tabas
Case Name:                      GOMEZ, ALFREDO                                                                                Bank Name:                           Union Bank
Primary Taxpayer ID #:          **-***0619                                                                                    Checking Acct #:                     ******9637
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:                       Checking Account (Non-Interest Earn
For Period Beginning:           10/01/2018                                                                                    Blanket bond (per case limit):       $56,290,000.00
For Period Ending:              09/30/2019                                                                                    Separate bond (if applicable):


    1                2                          3                                                 4                                                   5                  6                    7

Transaction      Check /                     Paid to/                     Description of Transaction                           Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                    $



                                                                                   TOTALS:                                                         $15,527.90             $15,527.90                 $0.00
                                                                                       Less: Bank transfers/CDs                                         $0.00             $14,880.28
                                                                                   Subtotal                                                        $15,527.90                $647.62
                                                                                       Less: Payments to debtors                                        $0.00                  $0.00
                                                                                   Net                                                             $15,527.90                $647.62




                     For the period of 10/01/2018 to 09/30/2019                                              For the entire history of the account between 02/18/2015 to 9/30/2019

                     Total Compensable Receipts:                         $0.00                               Total Compensable Receipts:                                $15,527.90
                     Total Non-Compensable Receipts:                     $0.00                               Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                               Total Comp/Non Comp Receipts:                              $15,527.90
                     Total Internal/Transfer Receipts:                   $0.00                               Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                    $0.00                               Total Compensable Disbursements:                              $647.62
                     Total Non-Compensable Disbursements:                $0.00                               Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                               Total Comp/Non Comp Disbursements:                            $647.62
                     Total Internal/Transfer Disbursements:              $0.00                               Total Internal/Transfer Disbursements:                     $14,880.28
                                                        Case 14-13814-RAM            Doc 92 Filed 10/09/19                  Page 14 of 17
                                                                                      FORM 2                                                                      Page No: 13
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                           Trustee Name:                       Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                     Bank Name:                          Veritex Community Bank
Primary Taxpayer ID #:        **-***0619                                                                                         Checking Acct #:                    ******1401
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                      DDA
For Period Beginning:         10/01/2018                                                                                         Blanket bond (per case limit):      $56,290,000.00
For Period Ending:            09/30/2019                                                                                         Separate bond (if applicable):


     1                2                      3                                                      4                                                  5                   6                    7

Transaction      Check /                   Paid to/                         Description of Transaction                            Uniform           Deposit          Disbursement             Balance
   Date           Ref. #                Received From                                                                            Tran Code            $                   $


09/25/2018                 Union Bank                             Transfer Funds                                                  9999-000          $14,880.28                  $0.00            $14,880.28
11/26/2018                 Alfredo Gomez                          Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $15,232.28
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Interest Asset 8                                      $67.77    1241-000                                                       $15,232.28
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $15,232.28
11/26/2018                 Alfredo Gomez                          Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $15,584.28
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Interest Asset 8                                      $67.77    1241-000                                                       $15,584.28
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $15,584.28
12/12/2018                 Alfredo Gomez                          Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $15,936.28
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Interest Asset 8                                      $67.77    1241-000                                                       $15,936.28
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $15,936.28
01/09/2019                 Alfredo Gomez                          Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $16,288.28
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Interest Asset 8                                      $67.77    1241-000                                                       $16,288.28
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $16,288.28
02/04/2019                 Alfredo Gomez                          Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $16,640.28
                                                                  Stipulation for Compromise and Settlement, 2/25/15
                                                                  (ECF 75)
                     {8}                                          Interest Asset 8                                      $67.77    1241-000                                                       $16,640.28
                     {8}                                          Asset 8                                              $284.23    1241-000                                                       $16,640.28

                                                                                                                                 SUBTOTALS           $16,640.28                 $0.00
                                                      Case 14-13814-RAM            Doc 92 Filed 10/09/19                  Page 15 of 17
                                                                                    FORM 2                                                                      Page No: 14
                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                      14-13814                                                                                         Trustee Name:                       Joel L. Tabas
Case Name:                    GOMEZ, ALFREDO                                                                                   Bank Name:                          Veritex Community Bank
Primary Taxpayer ID #:        **-***0619                                                                                       Checking Acct #:                    ******1401
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                      DDA
For Period Beginning:         10/01/2018                                                                                       Blanket bond (per case limit):      $56,290,000.00
For Period Ending:            09/30/2019                                                                                       Separate bond (if applicable):


     1                2                    3                                                      4                                                  5                   6                    7

Transaction      Check /                 Paid to/                         Description of Transaction                            Uniform           Deposit          Disbursement             Balance
   Date           Ref. #              Received From                                                                            Tran Code            $                   $


02/21/2019                 Alfredo Gomez                        Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $16,992.28
                                                                Stipulation for Compromise and Settlement, 2/25/15
                                                                (ECF 75)
                     {8}                                        Interest Asset 8                                      $67.77    1241-000                                                       $16,992.28
                     {8}                                        Asset 8                                              $284.23    1241-000                                                       $16,992.28
04/09/2019                 Alfredo Gomez                        Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $17,344.28
                                                                Stipulation for Compromise and Settlement, 2/25/15
                                                                (ECF 75)
                     {8}                                        Asset 8                                              $284.23    1241-000                                                       $17,344.28
                     {8}                                        Interest Asset 8                                      $67.77    1241-000                                                       $17,344.28
05/10/2019                 Alfredo Gomez                        Order Granting Trustee's Motion to Approve                          *               $350.00                   $0.00            $17,694.28
                                                                Stipulation for Compromise and Settlement, 2/25/15
                                                                (ECF 75)
                     {8}                                        Asset 8                                              $282.23    1241-000                                                       $17,694.28
                     {8}                                        Interest Asset 8                                      $67.77    1241-000                                                       $17,694.28
06/13/2019                 Alfredo Gomez                        Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $18,046.28
                                                                Stipulation for Compromise and Settlement, 2/25/15
                                                                (ECF 75)
                     {8}                                        Asset 8                                              $284.23    1241-000                                                       $18,046.28
                     {8}                                        Interest Asset 8                                      $67.77    1241-000                                                       $18,046.28
07/09/2019                 Alfredo Gomez                        Order Granting Trustee's Motion to Approve                          *               $352.00                   $0.00            $18,398.28
                                                                Stipulation for Compromise and Settlement, 2/25/15
                                                                (ECF 75)
                     {8}                                        Asset 8                                              $284.23    1241-000                                                       $18,398.28
                     {8}                                        Interest Asset 8                                      $67.77    1241-000                                                       $18,398.28



                                                                                                                               SUBTOTALS            $1,758.00                 $0.00
                                                          Case 14-13814-RAM             Doc 92 Filed 10/09/19                   Page 16 of 17
                                                                                         FORM 2                                                                        Page No: 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        14-13814                                                                                             Trustee Name:                        Joel L. Tabas
Case Name:                      GOMEZ, ALFREDO                                                                                       Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:          **-***0619                                                                                           Checking Acct #:                     ******1401
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                       DDA
For Period Beginning:           10/01/2018                                                                                           Blanket bond (per case limit):       $56,290,000.00
For Period Ending:              09/30/2019                                                                                           Separate bond (if applicable):


     1                2                         3                                                      4                                                    5                   6                    7

Transaction      Check /                     Paid to/                          Description of Transaction                             Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                              Tran Code            $                    $


08/07/2019                  Alfredo Gomez                            Order Granting Trustee's Motion to Approve                           *                 $352.00                  $0.00            $18,750.28
                                                                     Stipulation for Compromise and Settlement, 12/28/15
                                                                     (ECF 77)
                     {8}                                             Asset 8                                               $284.23    1241-000                                                        $18,750.28
                     {8}                                             Interest Asset 8                                       $67.77    1241-000                                                        $18,750.28
09/11/2019                  Alfredo Gomez                            Order Granting Trustee's Motion to Approve                           *                 $352.00                  $0.00            $19,102.28
                                                                     Stipulation for Compromise and Settlement, 12/28/15
                                                                     (ECF 77)
                     {8}                                             Asset 8                                               $284.23    1241-000                                                        $19,102.28
                     {8}                                             Interest Asset 8                                       $67.77    1241-000                                                        $19,102.28

                                                                                         TOTALS:                                                          $19,102.28                  $0.00              $19,102.28
                                                                                             Less: Bank transfers/CDs                                     $14,880.28                  $0.00
                                                                                         Subtotal                                                          $4,222.00                  $0.00
                                                                                             Less: Payments to debtors                                         $0.00                  $0.00
                                                                                         Net                                                               $4,222.00                  $0.00




                     For the period of 10/01/2018 to 09/30/2019                                                    For the entire history of the account between 09/25/2018 to 9/30/2019

                     Total Compensable Receipts:                       $4,222.00                                   Total Compensable Receipts:                                  $4,222.00
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                     $4,222.00                                   Total Comp/Non Comp Receipts:                                $4,222.00
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                           $14,880.28


                     Total Compensable Disbursements:                       $0.00                                  Total Compensable Disbursements:                                  $0.00
                     Total Non-Compensable Disbursements:                   $0.00                                  Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                     $0.00                                  Total Comp/Non Comp Disbursements:                                $0.00
                     Total Internal/Transfer Disbursements:                 $0.00                                  Total Internal/Transfer Disbursements:                            $0.00
                                                          Case 14-13814-RAM         Doc 92 Filed 10/09/19              Page 17 of 17
                                                                                     FORM 2                                                                    Page No: 16
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        14-13814                                                                                     Trustee Name:                         Joel L. Tabas
Case Name:                      GOMEZ, ALFREDO                                                                               Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:          **-***0619                                                                                   Checking Acct #:                      ******1401
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                        DDA
For Period Beginning:           10/01/2018                                                                                   Blanket bond (per case limit):        $56,290,000.00
For Period Ending:              09/30/2019                                                                                   Separate bond (if applicable):


    1                2                           3                                                   4                                              5                    6                    7

Transaction      Check /                     Paid to/                        Description of Transaction                        Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                  Received From                                                                       Tran Code            $                    $


                                                                                                                                                                             NET               ACCOUNT
                                                                                      TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                                  $19,749.90                 $647.62           $19,102.28




                     For the period of 10/01/2018 to 09/30/2019                                              For the entire history of the account between 09/25/2018 to 9/30/2019

                     Total Compensable Receipts:                       $4,222.00                          Total Compensable Receipts:                                  $19,749.90
                     Total Non-Compensable Receipts:                       $0.00                          Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                     $4,222.00                          Total Comp/Non Comp Receipts:                                $19,749.90
                     Total Internal/Transfer Receipts:                     $0.00                          Total Internal/Transfer Receipts:                            $14,880.28


                     Total Compensable Disbursements:                     $0.00                           Total Compensable Disbursements:                                $647.62
                     Total Non-Compensable Disbursements:                 $0.00                           Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:                   $0.00                           Total Comp/Non Comp Disbursements:                              $647.62
                     Total Internal/Transfer Disbursements:               $0.00                           Total Internal/Transfer Disbursements:                       $14,880.28




                                                                                                                                              /s/ JOEL L. TABAS
                                                                                                                                              JOEL L. TABAS
